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                     EXHIBIT C
             HANGAR COLLAPSE COMPLAINT
                SBS MODIFIED INSTALL SET
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         INSTALL SET 12-5-23




                                                                  STEEL BUILDING SYSTEMS
                                                                  1675 W SOUTH SLOPE ROAD
                                                                  EMMETT, ID 83617
INSTALL SET  12-5-23
          Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 3 of 13




                                                                            STEEL BUILDING SYSTEMS
                                                                            1675 W SOUTH SLOPE ROAD
                                                                            EMMETT, ID 83617
                 Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 4 of 13

INSTALL SET 12-5-23




                                                                                   STEEL BUILDING SYSTEMS
                                                                                   1675 W SOUTH SLOPE ROAD
                                                                                   EMMETT, ID 83617
   Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 5 of 13
INSTALL SET 12-5-23




                                                                     STEEL BUILDING SYSTEMS
                                                                     1675 W SOUTH SLOPE ROAD
                                                                     EMMETT, ID 83617
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                                                                                            INSTALL SET 12-5-23




                                                                  STEEL BUILDING SYSTEMS
                                                                  1675 W SOUTH SLOPE ROAD
                                                                  EMMETT, ID 83617
Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 7 of 13
                                                                                            INSTALL SET 12-5-23




                                                                  STEEL BUILDING SYSTEMS
                                                                  1675 W SOUTH SLOPE ROAD
                                                                  EMMETT, ID 83617
Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 8 of 13
                                                                                            INSTALL SET 12-5-23




                                                                  STEEL BUILDING SYSTEMS
                                                                  1675 W SOUTH SLOPE ROAD
                                                                  EMMETT, ID 83617
Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 9 of 13
                                                                                            INSTALL SET 12-5-23




                                                                  STEEL BUILDING SYSTEMS
                                                                  1675 W SOUTH SLOPE ROAD
                                                                  EMMETT, ID 83617
                      Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 10 of 13
INSTALL SET 12-5-23




                                                                                         STEEL BUILDING SYSTEMS
                                                                                         1675 W SOUTH SLOPE ROAD
                                                                                         EMMETT, ID 83617
                      Case 1:24-cv-00319-BLW Document 1-3 Filed 07/09/24 Page 11 of 13
INSTALL SET 12-5-23




                                                                                         STEEL BUILDING SYSTEMS
                                                                                         1675 W SOUTH SLOPE ROAD
                                                                                         EMMETT, ID 83617
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                                                                   STEEL BUILDING SYSTEMS
                                                                   1675 W SOUTH SLOPE ROAD
                                                                   EMMETT, ID 83617
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                                                                                             INSTALL SET 12-5-23




                                                                   STEEL BUILDING SYSTEMS
                                                                   1675 W SOUTH SLOPE ROAD
                                                                   EMMETT, ID 83617
